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                                     UNITED STATES DISTRICT COURT
                                                    For the
                                          District of Massachusetts


___________________________________
                                    )                        Case No: 22-40137
IVAN LIPTON AND REBECCA LIPTON )
as guardians for EVA LIPTON         )
                                    )                        Jury Trial: (check one) Yes  No
       Plaintiffs                   )
                                    )
vs.                                 )
                                    )
MARYLOU SUDDERS,                    )
Secretary of the Executive Office   )
of Health and Human Services;       )                        VERIFIED COMPLAINT
JANE RYDER,                         )
Commissioner of the Department of   )
Developmental Services; and         )
MICHAEL CANCILLIERE,                )
President and CEO of                )
Cooperative Production              )
       Defendants                   )
___________________________________ )


         Eva Lipton, a resident of Massachusetts, by and through her parents and guardians, Ivan

Lipton and Rebecca Lipton, brings this action to enjoin the Department of Developmental

Services (“DDS”) and Cooperative Production (“COOP”) from discontinuing her group home

support services on the basis of her domicile status. Eva has a serious traumatic brain injury

which substantially impairs her ability to function and requires ongoing rehabilitation and

support. Since November 29, 2018, Eva had been a resident in a DDS contracted group home

located in Wareham, Massachusetts which is run by COOP. On August 20, 2022, the Plaintiffs

received a 45-day notice to discontinue service for Eva dated August 17, 2022. On September 7,

2022, Lisa Saba, DDS Regional Area Director, held a meeting regarding modifying Eva’s

Individual Service Plan (“ISP”). The proposed change in living supports were listed as nursing



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home placement or a self-directed care model of supports. The guardians appealed the transfer

pursuant to 115 CMR 6.63(2) and the modification pursuant to CMR 115 6.33 on September 29,

2022. Eva was admitted to Tobey Hospital on October 18, 2022 for treatment of a urinary tract

infection which caused her to have a seizure. On October 21, 2022, Michael Cancilliere,

President and CEO of COOP wrote the Tobey Hospital Medical team informing them that COOP

is unable to have Eva Lipton return to their care within their residential programs “due to her

extensive level of medical need.” There have been no changes in Eva’s plan of care. Eva

remains in the hospital with no DDS supportive services. Her parents are assisting with her care

24/7. The hospital has been unable to find a nursing home placement for her. An informal

conference has not been held and DDS has not requested an adjudicative proceeding with the

Division of administrative Appeals pursuant to 6.63(4)d and M.G.L. c. 7, § 4H.

                                           THE PARTIES

    1.        Plaintiff, Ivan Lipton, resides at 60 Thorne Road, Buzzards Bay, MA 02532.

    2.        Plaintiff, Rebecca Lipton, resides at 30 prospect Road, Plympton, MA 02367.

    3.        The Defendant, Massachusetts Executive Office of Health and Human Services

              (“EOHHS” or “the Agency”), is the agency charged under federal and state law with

              responsibility for administering the Massachusetts Medicaid Program

              (“MassHealth”). The agency is located at One Ashburton Place, Boston,

              Massachusetts.

    4.        The Defendant, Massachusetts Department of Developmental Services (“DDS”), is

              the agency within EOHHS charged under state law with the responsibility for the

              administration of state and federal programs and services for individuals with mental

              retardation. The agency is located at 500 Harrison Avenue, Boston, Massachusetts.




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    5.        The Defendant, Marylou Sudders, is the Secretary of the EOHHS. She is responsible

              for the administration of the MassHealth program and DDS. Her office is located at

              One Ashburton Place, Boston, Suffolk County, Massachusetts.

    6.        The Defendant, Jane Ryder, is the Commissioner of DDS. She is responsible for the

              administration and actions of DDS. Her office is located at 500 Harrison Avenue,

              Boston, Suffolk County, Massachusetts.

    7.        The Defendant, Michael Cancilliere, is the CEO and president of COOP which

              manages the group home where Eva resided. The group home is contracted to

              provide residential services with DDS and receives funding from the MassHealth

              Community Home Based Waiver Program.

              COOP is located at 455 Somerset Avenue, N. Dighton, Massachusetts.

    8.        Ms. Sudders, Ms. Ryder and Mr. Cancilliere are sued in their official capacities.

                                                       FACTS

    9.        Medicaid is a joint federal-state cost-sharing program designed to enable each state to

              furnish comprehensive medical assistance to public assistance recipients and other

              needy citizens whose income is insufficient to meet the cost of necessary medical

              care. 42 U.S.C. §1396 et seq.

    10.       A state’s participation in the Medicaid program is voluntary. If it chooses to

              participate, it must adopt a state plan which is consonant with the requirements of the

              Medicaid Act. 42 U.S.C. §1396 (a)(1) et seq. That includes establishing or

              designating a single state agency to be responsible for the administration of the plan.

    11.       Massachusetts has chosen to participate in the Medicaid program. EOHHS is the




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              single state agency designated by the Commonwealth to administer its Medicaid

              program. The Massachusetts Medicaid program is required to comply with the

              federal statutory and regulatory scheme.

    12.       Massachusetts receives federal funds pursuant to a Medicaid plan which is

              administered by DDS to provide services for intellectually disabled individuals

              requiring services in intermediate care facilities. Massachusetts also has a Medicaid

              waiver plan that is administered by DDS to provide home- and community-based

              services to individuals who, but for the provision of such services, would require

              intermediate care services. Home- and community-based services (other than room

              and board) are included as Medicaid for which Massachusetts receives federal funds.

              42 U.S.C. 1396a(c)(1).

    13.       The DDS Intensive Supports Medicaid waiver plan provides services to individuals

              who meet the eligibility criteria and require supervision and support 24 hours a day,

              seven days a week due to significant behavioral, medical and/or physical support

              needs with traumatic brain injury (TBI) and other intellectual disabilities, such as

              Eva.

    14.       In 1999, the U.S. Supreme Court rendered a decision in Olmstead v. L.C., 577 U.S.

              581 (1999), indicating that states have a legal obligation to administer programs and

              activities in the most integrated setting appropriate to the needs of qualified

              individuals with disabilities. This decision recognized that state may satisfy this

              obligation through development of a comprehensive, effective working plan for

              placing qualified persons with disabilities like Eva in less restrictive settings.




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    15.       The Commonwealth’s current Olmstead Plan was finalized in 2018. It sets forth a

              plan to facilitate opportunities for all people with disabilities to live their lives fully

              included and integrated into their chosen community both by increasing the

              movement of such persons from institutional to community settings and by

              preventing unnecessary institutionalization or homelessness of such persons.

    16.       In 1987 Congress amended Medicaid by enacting the NHRA. It had found that many

              states were reducing crowding in state institutions by transferring mentally disabled

              people to geriatric facilities, which were poorly equipped to care for them. H.R. Rep.

              No.100-391 (1), at 459 (1987) as reprinted in 1987 U.S. U.S.C.C.A.N. 2313-1, 2313-

              279. The NHRA limits states to using Medicaid funding for nursing home residents

              found, through a screening process, to need the level of care nursing homes provide.

              See 42 U.S.C §1396r (e)(7)(D)(ii). The screening process is called the Preadmission

              Screening and Annual Resident Review (PASARR) and it requires states to assess

              whether intellectually disabled individuals need nursing home level of care and

              require specialized services.

    17.       Title II of the ADA prohibits public entities from excluding disabled individuals from

              entities’ “services, programs, or activities.” 42 U.S.C. §12132. This integration

              mandate requires states to place people in the most integrated setting appropriate, 28

              C.F.R.§35.130(d).

    18.       In Roland v Celucci,191 F.R.D. (D.Mass.2000), a class of disabled adults brought suit

              under 42 U.S.C.§1983 and Title II of the ADA, and claimed that Massachusetts was

              violating the ADA, several Medicaid provisions and the NHRA by illegally limiting

              the access to community programs and ignoring PASARR findings. The state was




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              alleged to have confined many persons to nursing homes who belonged in community

              placements and not providing them with specialized series while in nursing homes.

              In 2000, the court approved a settlement between the parties in which the state agreed

              to place many class members in appropriate placements, divert people who would

              have been admitted into nursing homes to community placements, and provide

              members with specialized placements.

    19.       Eva’s residential placement at COOP was partially funded with “Roland funds.”

              Exhibit A.

    20.       Eva was born on October 9, 1994 in Boston MA to her father, Ivan Lipton, and her

              mother, Rebecca Lipton.

    21.       Eva suffered Traumatic Brain Injury (TBI), Obstructive Hydrocephalus, and has a

              diagnosis of Developmental Delays NOS secondary to TBI, as result of an

              automobile accident in March 2012.

    22.       These are permanent conditions. Eva is unable to engage in the cognitive processes

              needed for decision-making and is severely physically disabled.

    23.       Ivan and Rebecca Lipton were appointed Co-Guardians of the person of Eva Bess

              Lipton on May 21, 2014 due to her incapacity.

    24.       After her accident, Eva was hospitalized from March 2012 to September 2012.

    25.       Eva was transferred to the Plymouth Rehabilitation and Health Care Center where she

              received therapy and nursing care from September 2012 until May 22, 2017.

    26.       In coordination with DDS, Eva moved to a Seven Hills Group Home located at 15

              Bosun’s Lane in Bourne, Massachusetts which was funded through the Medicaid

              Intensive Care Waiver and Roland Funds.




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    27.       In coordination with DDS, Eva moved again to CO-Operative Productions group

              home located at 2298A Cranberry Highway in Wareham, MA on November 28,

              2018.

    28.       COOP is a DDS contracted group home provider and receives funding from DDS and

              Medicaid.

    29.       COOP provides care to Eva based upon her Individual Service Plan (ISP) which was

              drafted in consultation with DDS and the Plaintiffs. See Exhibit B.

    30.       On August 20, 2022, the Guardians received a 45-day notice to discontinue service

              for Eva dated August 17, 2022. Exhibit C.

    31.       On September 7, 2022, Lisa Saba, DDS Regional Area Director, held a meeting

              regarding modifying Eva’s Individual Service Plan.

    32.       The proposed change in living supports were nursing home placement or self-directed

              care model of supports. See Exhibit D.

    33.       The guardians though counsel appealed the transfer pursuant to 115 CMR 6.63 (2)

              and the modification pursuant to 115 CMR 6.33.on September 29, 2022. Exhibits E

              & F.

    34.       115 CMR 6.33 provides that an appeal must be filed 30 days after receipt of an ISP

              which is the subject of the appeal. An informal conference is to be held within 30

              days of notification of the appeal. The purpose of the informal conference is to

              conciliate the issues being appealed and/or to clarify the issues for further appeal.

    35.       To date, DDS has failed to hold an informal conference.

    36.       Pursuant to 115 CMR 6.34(4), “Unless the parties agree otherwise, those portions of

              the ISP which are the subject of appeal shall not be implemented until after the




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              informal conference conducted pursuant to 115 CMR(1), unless earlier

              implementation is necessary to respond to a serious or immediate threat to the health

              or safety of the individual or others.

    37.       If the issues being appealed are not resolved at the informal conference, then the

              appealing party may petition the Commissioner, within 30 days requesting a fair

              hearing.

    38.       The fair hearing decision under 115 CMR 6.33(2) may be entitled to judicial review

              in accordance with M.G.L. c. 30A, § 14.

    39.       Pursuant to 6.63: transfers, additional requirements must be satisfied when a transfer

              decision is appealed. All parties eligible to participate in an ISP modification must be

              given 45 written prior to the proposed transfer by registered mail. The written notice

              must include how the proposed move will result in improves services and quality of

              life for the disable individual, specify a location for the proposed transfer, include an

              opportunity for the parties to visit and expect the residence, to invite the parties to

              discuss the pros and cons of the transfer with the service coordinator, and include a

              statement of rights established by 115 CMR 6.63.

    40.       The Plaintiffs never received a 45 written notice by DDS.

    41.       If any party of an ISP modification files an objection to the proposed transfer in

              accordance with 115 CMR 6.63(3) then the transfer shall not occur until the

              Department prevails at an adjudicatory proceeding held pursuant to CMR 6.63 (2).

    42.       Pursuant to 115 CMR 6.63(4), if the ISP, including any proposed transfer cannot be

              fully implemented as a result of an objection to a proposed transfer, DDS shall file a




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              request for an adjudicatory hearing with the Division of Administrative Law Appeals

              within 20 days as set forth in M.G.L. c. 7 § 4H.

    43.       DDS has not requested an adjudicative proceeding with the Division of

              Administrative Appeals pursuant to 6.63(4)d and M.G.L. c. 7, § 4H.

    44.       Eva was admitted to Tobey Hospital on October 18, 2022 for treatment of a urinary

              tract infection.

    45.       On October 21, 2022, Michael Cancilliere, President and CEO of Cooperative

              Production wrote the Tobey Hospital Medical team informing them that Cooperative

              Production is unable to have Eva return to their care within their residential programs

              “due to her extensive level of medical need.” Exhibit G.

    46.       There have been no changes in Eva’s medical need.

    47.       Eva continues to remain in the hospital with no DDS direct supportive services.

    48.       Tobey Hospital is unable to provide the level of nursing care and other supports that

              Eva requires.

    49.       Eva’s parents are assisting in her care 24/7. The hospital has been unable to find a

              nursing home placement for her.

    50.       Eva is at-risk for serious injury and decline. Eva has no control of her head and body

              and requires constant repositioning so that she can breathe, to keep her comfortable

              and to reposition to prevent pressure sores. Eva has a G Tube which provides her

              nutrition, requiring administration of various feedings throughout each 24-hour

              period, and Eva requires changing and cleaning to prevent UTI’s which can result in

              seizures. Eva requires range-of-motion and stretching exercises to prevent her

              muscles from atrophy and contractures.




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                                          PRAYERS FOR RELIEF

WHEREFORE, the Plaintiff respectfully requests that this Court:

    1. Assume jurisdiction over this action;

    2. Enjoin DDS from depriving Eva Lipton of group support services until a final decision is

         made regarding appeal and, for the duration of Eva’s appeal, order DDS to provide group

         home support services on an emergency basis;

    3. Enter declaratory judgment finding that DDS deprived Eva of her due process entitlement

         to a fair and impartial informal conference on the issue of transfer and modification;

    4. Enter declaratory judgment that Eva has met the regulatory requirements as a protected

         person under the Olmstead Act and Title II of the ADA;

    5. Issue a writ of mandamus requiring DDS to conduct a fair hearing and to apply the proper

         legal standards for transfer and modification in reaching a final administrative decision;

    6. Declare the parties’ rights under 115 CMR 6.33; 115 CMR 6.63(2); Olmstead and Title II

         of the ADA;

    7. Grant the Plaintiffs the cost of this action, including attorney’s fees from the date of the

         appeal though the conclusion of this action pursuant to 42 U.S.C 1988; and

    8. Grant such other and further relief as this Court may deem just and equitable.




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                                          IVAN AND REBECCA LIPTON,
                                          as guardian for Eva Lipton,
                                          By their attorneys,


                                          /s/ Patrick C. Tinsley

                                          _____________________________________
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Dated: November 29, 2022




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